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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA

      IN RE: OIL SPILL by the OIL RIG    §                          MDL NO. 2179
          “DEEPWATER HORIZON” in the     §
          GULF OF MEXICO, on APRIL 20,   §                           SECTION: J
                                         §
                       2010              §
                                         §                        JUDGE BARBIER
                 Applies to:             §
      All Cases in Pleading Bundle B1    §
                                         §                     MAGISTRATE SHUSHAN
                                         §
.. .. .. .. .. .. .. .. .. .. .. .. . .. §
                                         §

        HALLIBURTON ENERGY SERVICES, INC.'S NOTICE OF SUBMISSION


        PLEASE TAKE NOTICE that Defendant Halliburton Energy Services, Inc.'s Motion to

Dismiss Plaintiff's Complaint for Failure to State a Claim Under Rule 12(b)(6) is hereby set for

submission on the 29th day of April, 2011 at 9:30 a.m., before the Honorable Carl Barbier,

United States District Judge, United States District Court for the Eastern District of Louisiana,

500 Camp Street, New Orleans, Louisiana.




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                                                   Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Notice of Submission has been served on
All Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance
with Pretrial Order No. 12 on this 28th day of February, 2011.



                                                    /s/ Donald E. Godwin
                                                   Donald E. Godwin




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